             Case 8:17-bk-05123-CPM          Doc 72     Filed 01/08/18    Page 1 of 2



                                        ORDERED.


     Dated: January 08, 2018




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
IN RE:
TRE AMICI LEASING, LLC,                               CASE NO: 8:17-bk-05123-CPM
                                                      CHAPTER 11
         Debtor.
                                  /


                    ORDER DENYING CONFIRMATION,
      DISAPPROVING DISCLOSURE STATEMENT AND NOTICE OF HEARING
         This case came on for hearing on December 28, 2017, upon the continued hearing on the
Debtor’s Disclosure Statement (Doc. 50) , confirmation of the Debtor’s proposed Plan of Liquidation
(Doc. 51), as well as objections to confirmation filed by Ally Bank (Doc. 59) and Donald Rinaldo,
Jr. and Donald Rinaldo, Sr. (Doc. 60). Appearing were Matt Holtsinger, Esquire, on behalf of Ally
Bank, Scott Stichter, Esquire, on behalf of Donald Rinaldo, Jr. and Donald Rinaldo, Sr., Nathan
Wheatley, Esquire, on behalf of the Office of U.S. Trustee, and Joel S. Treuhaft, Esquire, on behalf
of the Debtor. The Court, having considered the Disclosure Statement and Plan, along with argument
of counsel, finds that the Debtor cannot propose a confirmable Plan, and therefore, the Disclosure
Statement should be disapproved and confirmation of the proposed Plan of Liquidation should be
denied. Accordingly, and for the reasons stated orally and recorded in open court, it is hereby
         ORDERED that:
1.       The Disclosure Statement (Doc. 50) filed by the Debtor is not approved, and confirmation
of the Debtor’s proposed Plan of Liquidation (Doc. 51) is hereby DENIED.
2.       A hearing will be held on the Debtor’s Motion to Sell Property and Shorten Notice (Doc. 64)
         on January 5, 2018, at 11:00 a.m. before the Honorable Catherine P. McEwen, Courtroom
                          Case 8:17-bk-05123-CPM                                                 Doc 72      Filed 01/08/18   Page 2 of 2



                8B, Sam M. Gibbons United States Courthouse, 801 North Florida Avenue, Tampa, FL
                33602.
3.              A hearing to approve the Debtor’s proposed sale and to consider the Rinaldo’s Motion to
                Convert or Dismiss (Doc. 57) will be held on January 25, 2018, at 1:30 p.m. before the
                Honorable Catherine P. McEwen, Courtroom 8B, Sam M. Gibbons United States
                Courthouse, 801 North Florida Avenue, Tampa, FL 33602.


Joel S. Treuhaft is directed to serve a copy of this order on interested parties and file a proof of service within 3 days of entry of the order




J:\PHLG\Clients\Marchetti, Anthony & Kim\Tre Amici Leassing LLC\20171228.Order on Disclosure Statement.wpd                              Page 2 of 2
